                               Case 3:18-cv-05275-RBL Document 85 Filed 02/06/20 Page 1 of 3




                                                         United States District Court
                                                        Western District of Washington




        SEAN WILSON, individually and on behalf of                              Case Number: 18-cv-05275-RBL
        all others similarly situated,

         WůĂŝŶƟī;ƐͿ                                                             APPLICATION FOR LEAVE TO APPEAR
                                                                                PRO HAC VICE
         V.

        PTT, LLC, a Delaware limited liability company,
        d/b/a HIGH 5 GAMES, LLC, a Delaware limited
        liability company,
         ĞĨĞŶĚĂŶƚ;ƐͿ

       WƵƌƐƵĂŶƚƚŽ>Zϴϯ͘ϭ;ĚͿŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐŝƐƚƌŝĐƚŽƵƌƚĨŽƌƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶ͕
         Brandt Silver-Korn
                                                  ŚĞƌĞďǇĂƉƉůŝĞƐĨŽƌƉĞƌŵŝƐƐŝŽŶƚŽĂƉƉĞĂƌĂŶĚƉĂƌƟĐŝƉĂƚĞĂƐ
       ĐŽƵŶƐĞůŝŶƚŚĞĂďŽǀĞĞŶƟƚůĞĚĂĐƟŽŶŽŶďĞŚĂůĨŽĨƚŚĞĨŽůůŽǁŝŶŐƉĂƌƚǇŽƌƉĂƌƟĞƐ͗
         Sean Wilson


       dŚĞƉĂƌƟĐƵůĂƌŶĞĞĚĨŽƌŵǇĂƉƉĞĂƌĂŶĐĞĂŶĚƉĂƌƟĐŝƉĂƟŽŶŝƐ͗

         based upon Plaintiff's retention of my law firm--Edelson PC--to represent him in this matter, as well
         as my particular knowledge of the facts and law relevant to the instant litigation.



       /͕ Brandt Silver-Korn                                          ƵŶĚĞƌƐƚĂŶĚƚŚĂƚ/ĂŵĐŚĂƌŐĞĚǁŝƚŚŬŶŽǁŝŶŐĂŶĚĐŽŵƉůǇŝŶŐǁŝƚŚ
       all applicable local rules;

       /ŚĂǀĞŶŽƚďĞĞŶĚŝƐďĂƌƌĞĚŽƌĨŽƌŵĂůůǇĐĞŶƐƵƌĞĚďǇĂĐŽƵƌƚŽĨƌĞĐŽƌĚŽƌďǇĂƐƚĂƚĞďĂƌĂƐƐŽĐŝĂƟŽŶ͖ĂŶĚƚŚĞƌĞĂƌĞ
       not disciplinary proceedings against me.

       I declare under penalty of perjury that the foregoing is true and correct.


               02/06/2020
       Date:                                                          Signature of Applicant: s/ Brandt Silver-Korn



ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 1 of 3
                             Case 3:18-cv-05275-RBL Document 85 Filed 02/06/20 Page 2 of 3



     WƌŽ,ĂĐsŝĐĞƩŽƌŶĞǇ
                                               Brandt Silver-Korn
     Applicant's Name:
                                               Edelson PC
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               123 Townsend St
     Street Address 1:
                                               Suite 100
     Address Line 2:
              San Francisco                                                                            94107
     City:                                                                State: CA            Zip:
                                   (415) 234-5343                                             323530
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                    Bar #                    State CA
     Primary E-mail Address: bsilverkorn@edelson.com
     ;WƌŝŵĂƌǇͲDĂŝůĂĚĚƌĞƐƐŵƵƐƚďĞĨŽƌƚŚĞWƌŽ,ĂĐĂƩŽƌŶĞǇĂŶĚŶŽƚĂŶǇƐƵďŽƌĚŝŶĂƚĞŽƌƐƚĂīŵĞŵďĞƌͿ
                                            docket@edelson.com
     Secondary E-mail Address:



                                                    STATEMENT OF LOCAL COUNSEL

     /ĂŵĂƵƚŚŽƌŝǌĞĚĂŶĚǁŝůůďĞƉƌĞƉĂƌĞĚƚŽŚĂŶĚůĞƚŚŝƐŵĂƩĞƌ͕ŝŶĐůƵĚŝŶŐƚƌŝĂů͕ŝŶƚŚĞĞǀĞŶƚƚŚĞ
     applicant Brandt Silver-Korn                                       is unable to be present upon any date
     assigned by the court.
               02/06/2020
     Date:                                      Signature of Local Counsel: s/ Cecily C. Shiel
                                               Cecily C. Shiel
     Local Counsel's Name:
                                               Tousley Brain Stephens
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               1700 Seventh Avenue
     Street Address 1:
                                               Suite 2200
     Address Line 2:
              Seattle                                                              WA                  98101
     City:                                                                State:               Zip:
                                                  (206) 682-5600                              50061
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                    Bar #




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 2 of 3
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                                                  ůĞĐƚƌŽŶŝĐĂƐĞ&ŝůŝŶŐŐƌĞĞŵĞŶƚ




            ǇƐƵďŵŝƫŶŐƚŚŝƐĨŽƌŵ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚƵŶĚĞƌƐƚĂŶĚƐĂŶĚĂŐƌĞĞƐƚŽƚŚĞĨŽůůŽǁŝŶŐ͗

       1. dŚĞDͬ&ƐǇƐƚĞŵŝƐƚŽďĞƵƐĞĚĨŽƌĮůŝŶŐĂŶĚƌĞǀŝĞǁŝŶŐĞůĞĐƚƌŽŶŝĐĚŽĐƵŵĞŶƚƐ͕ĚŽĐŬĞƚƐŚĞĞƚƐ͕ĂŶĚŶŽƟĐĞƐ͘

       2. dŚĞƉĂƐƐǁŽƌĚŝƐƐƵĞĚƚŽǇŽƵďǇƚŚĞĐŽƵƌƚ͕ĐŽŵďŝŶĞĚǁŝƚŚǇŽƵƌůŽŐŝŶ͕ƐĞƌǀĞƐĂƐǇŽƵƌƐŝŐŶĂƚƵƌĞƵŶĚĞƌ&ĞĚĞƌĂů
          ZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϭϭ͘dŚĞƌĞĨŽƌĞ͕ǇŽƵĂƌĞƌĞƐƉŽŶƐŝďůĞĨŽƌƉƌŽƚĞĐƟŶŐĂŶĚƐĞĐƵƌŝŶŐƚŚŝƐƉĂƐƐǁŽƌĚ
          against unauthorized use.

       3. /ĨǇŽƵŚĂǀĞĂŶǇƌĞĂƐŽŶƚŽƐƵƐƉĞĐƚƚŚĂƚǇŽƵƌƉĂƐƐǁŽƌĚŚĂƐďĞĞŶĐŽŵƉƌŽŵŝƐĞĚŝŶĂŶǇǁĂǇ͕ǇŽƵĂƌĞ
          ƌĞƐƉŽŶƐŝďůĞĨŽƌŝŵŵĞĚŝĂƚĞůǇŶŽƟĨǇŝŶŐƚŚĞĐŽƵƌƚ͘DĞŵďĞƌƐŽĨƚŚĞĐŽƵƌƚΖƐƐǇƐƚĞŵƐƐƚĂīǁŝůůĂƐƐĞƐƐƚŚĞƌŝƐŬ
          and advise you accordingly.

       4. ǇƐŝŐŶŝŶŐƚŚŝƐZĞŐŝƐƚƌĂƟŽŶ&Žƌŵ͕ǇŽƵĐŽŶƐĞŶƚƚŽƌĞĐĞŝǀĞŶŽƟĐĞĞůĞĐƚƌŽŶŝĐĂůůǇ͕ĂŶĚƚŽǁĂŝǀĞǇŽƵƌƌŝŐŚƚƚŽ
          ƌĞĐĞŝǀĞŶŽƟĐĞďǇƉĞƌƐŽŶĂůƐĞƌǀŝĐĞŽƌĮƌƐƚĐůĂƐƐŵĂŝůƉƵƌƐƵĂŶƚƚŽ&ĞĚĞƌĂůZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϱ;ďͿ;ϮͿ;Ϳ͕
          ĞǆĐĞƉƚǁŝƚŚƌĞŐĂƌĚƚŽƐĞƌǀŝĐĞŽĨĂĐŽŵƉůĂŝŶƚĂŶĚƐƵŵŵŽŶƐ͘dŚŝƐƉƌŽǀŝƐŝŽŶĚŽĞƐŝŶĐůƵĚĞĞůĞĐƚƌŽŶŝĐŶŽƟĐĞŽĨ
          the entry of an order or judgment.

       ϱ͘ zŽƵǁŝůůĐŽŶƟŶƵĞƚŽĂĐĐĞƐƐĐŽƵƌƚŝŶĨŽƌŵĂƟŽŶǀŝĂƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶΖƐŝŶƚĞƌŶĞƚƐŝƚĞŽƌ
           ƚŚƌŽƵŐŚƚŚĞWƵďůŝĐĐĐĞƐƐƚŽŽƵƌƚůĞĐƚƌŽŶŝĐZĞĐŽƌĚƐ;WZͿƐǇƐƚĞŵ͘zŽƵǁŝůůĐŽŶƟŶƵĞƚŽŶĞĞĚĂWZ
           ůŽŐŝŶ͕ŝŶĂĚĚŝƟŽŶƚŽƚŚĞĐŽƵƌƚͲŝƐƐƵĞĚƉĂƐƐǁŽƌĚ͘zŽƵĐĂŶƌĞŐŝƐƚĞƌĨŽƌWZĂƚƚŚĞŝƌǁĞďƐŝƚĞ͗ŚƩƉ͗ͬͬƉĂĐĞƌ͘
           psc.uscourts.gov.

       6. ǇƚŚŝƐƌĞŐŝƐƚƌĂƟŽŶ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚĂŐƌĞĞƐƚŽĂďŝĚĞďǇƚŚĞƌƵůĞƐĂŶĚƌĞŐƵůĂƟŽŶƐŝŶƚŚĞŵŽƐƚƌĞĐĞŶƚ
          'ĞŶĞƌĂůKƌĚĞƌ͕ƚŚĞůĞĐƚƌŽŶŝĐ&ŝůŝŶŐWƌŽĐĞĚƵƌĞƐĚĞǀĞůŽƉĞĚďǇƚŚĞůĞƌŬΖƐKĸĐĞ͕ĂŶĚĂŶǇĐŚĂŶŐĞƐŽƌ
          ĂĚĚŝƟŽŶƐƚŚĂƚŵĂǇďĞŵĂĚĞƚŽƐƵĐŚĂĚŵŝŶŝƐƚƌĂƟǀĞƉƌŽĐĞĚƵƌĞƐŝŶƚŚĞĨƵƚƵƌĞ͘

                               02/05/2020                                 Brandt Silver-Korn
             Date Signed                                 Signature s/
                                                                          ;WƌŽ,ĂĐsŝĐĞĂƉƉůŝĐĂŶƚŶĂŵĞͿ




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 3 of 3
